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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

KRISTI LAURIS, Individually and as Case No.: 1-16-cv-00393-SEH
Successor In Interest to the Estate of
DAINIS LAURIS; KRISTI LAURIS as
Guardian Ad Litem for L.L.; and TAYLOR
LAURIS, ORDER

Plaintiffs,
Vv.
NOVARTIS AG, a Global Healthcare
Company; NOVARTIS
PHARMACEUTICALS CORPORATION,
a Delaware Corporation,

Defendants.

 

 

 

The Court conducted a hearing on November 17, 2017, at the Paul G. Hatfield
Courthouse, Helena, Montana.

Upon the record made in open court,

ORDERED

1. Defendants’ Motion to Exclude Testimony of Dr. Klaus Hoffman! is DENIED, subject
to the limitations on opinion testimony as stated on the record.

2. Defendants’ Motion to Exclude Testimony of Dr. Sonal Singh” is DENIED.

3. Defendants’ Motion to Exclude Testimony of Dr. T.K Chen? is DENIED. Dr. T.K.
Chen may not testify as an expert at trial for the reasons stated on the record.

4. Defendants’ Motion to Exclude Testimony of Dr. Mark Weiss‘ is DENIED, subject to

the limitations on opinion testimony as stated on the record.

 

' Doc. 142.
2 Doc. 150.
3 Doc. 154,
4 Doc. 163.

 
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5. Defendants’ Motion to Exclude Testimony of Dr. Robert Wagmeister’ is DENIED.

6. Defendants’ Motion to Exclude Testimony of Dr. Cheryl Blume® is RESERVED.

7. Plaintiffs’ Motion to Exclude the Expert Testimony of Drs. Kevin Croce, Javid
Moslehi, and Francis Giles Under Daubert’ is DENIED.

DATED this 17* ay of November, 2017.

AM E. HADDON '
United States District Judge

 

3 Doc. 159.
6 Doc. 146.
? Doc. 177.

 
